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Magistrate Judge McCandlis

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO. MJ19-321
Plaintiff, COMPLAINT for VIOLATION
v. Title 18, U.S.C., Section 1341
VOLODYMYR KVASHUK,
Defendant.

BEFORE, the Honorable Paula L. McCandlis, United States Magistrate Judge, .
U.S. Courthouse, Seattle, Washington.

The undersigned complainant being duly sworn states:

‘COUNT 1
(Mail Fraud)
A. Background
1. At all relevant times, Microsoft Corporation (“Microsoft”) was an

American multinational corporation headquartered in Redmond, Washington, that

developed, manufactured, licensed, supported and sold computer software, consumer

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electronics and personal computers and services. Microsoft maintained an online store
that was accessible to the general public via the Internet. A customer looking to purchase
products from Microsoft could establish an account (linked to the customer’s email
address) and purchase various items from Microsoft, including digital currency (such as a
digital gift card) that could be redeemed for other Microsoft products or services.

2. Microsoft assigned a group of software testers (the “Universal Store Team”
or “UST”) to make simulated purchases of products from the online store. The purpose
of the testing program was to ensure that customers could make purchases smoothly and
efficiently. VOLODYMYR KVASHUK was a member of the testing group during the
August 2016 to June 2018 timeframe. For part of that time period, VOLODYMYR

|| KVASHUK was employed by an outside vendor that supplied testers to Microsoft. For

the remained of that timeframe (except a short period) VOLODYMYR KVASHUK was
directly employed by Microsoft.
B. The Scheme To Defraud

3. In order to conduct testing, UST members first had to establish a test
customer account with the Microsoft online store. The test store account would be linked
to an email account created specifically for the purposes of testing. The test email
account would include the tester’s name (or some portion of the name). The UST team
would then “whitelist” the test store account, meaning that purchases made from the
account would automatically bypass Microsoft’s security and risk protocols, which
monitored online purchases in order to detect possible fraud. The test accounts were
linked to artificial payment devices (“Test in Production” or “TIP” cards) — in effect,
phony credit cards — that allowed the tester to simulate a purchase without generating an
actual charge.

4. The testing program was designed to block the delivery of physical goods.
Microsoft did not anticipate that testers would make test purchases of digital currency

(“Currency Stored Value” or “CSV”) and thus no safeguards were put in place to prevent

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the delivery of CSV. Thus, a tester who purchased CSV using a test account would
receive valuable CSV that could then be used to purchase Microsoft products or services.

5. The essence of the scheme and artifice to defraud was for VOLODYMYR
KVASHUK to use his role as a tester of Microsoft’s online store to obtain property,
including CSV, from Microsoft through materially false and misleading pretenses,
representations, and statements. VOLODYMYR KVASHUK resold much of the
fraudulently obtained digital currency to third parties. During the course of the scheme,
VOLODYMYR KVASHUK fraudulently obtained over $10,000,000 in CSV and other
property from Microsoft. VOLODYMYR KVASHUK knew that he was not authorized
to obtain CSV in his role as a tester, and disguised his identity using various false and
misleading pretenses, representations, and statements.

C. Manner and Means

6. It was part of the scheme and artifice to defraud that, in 2017, while
employed by a Microsoft vendor and assigned to the UST, VOLODYMYR KVASHUK
began using the test account created for him (the “vokvas” account) to make
unauthorized purchases of CSV from Microsoft’s online store. VOLODYMYR
KVASHUK purchased over $10,000 of CSV from approximately April to October of
2017.

7. It was further part of the scheme and artifice to defraud that
VOLODYMYR KVASHUK redeemed some of the CSV he obtained during this period
and used it to make purchases. In several instances, VOLODYMYR KVASHUK
concealed his identity as the person who was redeeming the CSV by using Microsoft
store accounts that were not in his name. In at least one instance, VOLODYMYR
KVASHUK redeemed some of the CSV — using it to purchase a subscription to Microsoft
Office — via a Microsoft store account established in the name of a business that
VOLODYMYR KVASHUK was associated with. In other instances, VOLODYMYR
KVASHUK redeemed the CSV using store accounts that were linked to temporary email
accounts that did not contain VOLODYMYR KVASHUK’s name in the email address,

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namely pikimajado@tinoza.org (the “pikimajado” account) and xidijenizo@axsup.net
(the “xidijenizo” account). Furthermore, VOLODYMYR KVASHUK concealed his
connection to the pikimajado and xidijenizo accounts by providing a false name and a
false address as contact information for the store accounts.

8. It was further part of the scheme and artifice to defraud that, on or about
October 22" and October 24" of 2017, VOLODYMYR KVASHUK used the redeemed
funds in the pikimajado and xidijenizo accounts to order three GeForce GTX 1070 video
or “graphics” cards with a total cost of approximately $2,024.58 from Microsoft’s online
store. The cards were shipped by Federal Express, a private or interstate commercial
carrier, from Ontario, California, to Seattle, Washington, on or about October 22™ and
October 24" of 2017.

9. It was further part of the scheme and artifice to defraud that, beginning in
approximately November of 2017, VOLODYMYR KVASHUK escalated the scale of his
unauthorized CSV purchases. To conceal his identity, VOLODYMYR KVASHUK
avoided using the “vokvas” test account that was associated with himself, and began
using test accounts created for, and associated with, other members of the UST, namely
the “av,” “sf,” and “za” accounts. Between approximately November 26, 2017, and
March 23, 2018, VOLODYMYR KVASHUK purchased over $10,000,000 in CSV from
these accounts. In addition to using accounts associated with other testers,
VOLODYMYR KVASHUK used one or more services specializing in Internet
anonymity to conceal his role in the unauthorized purchases of CSV.

10. It was further part of the scheme and artifice to defraud that
VOLODYMYR KVASHUK used reseller websites to sell at least some of the CSV to
third parties, who could then redeem the CSV and purchase items from Microsoft.
VOLODYMYR KVASHUK used the proceeds of the scheme to purchase property for

his own benefit, including a home and a vehicle.

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D. Execution Of The Scheme To Defraud

11. On or about October 22, 2017, at Seattle, within the Western District of
Washington and elsewhere, VOLODYMYR KVASHUK, for the purposes of executing
the above-described scheme to defraud and to obtain money and property, and attempting
to do so, did knowingly cause to be sent and delivered by Federal Express, a private and
commercial interstate carrier, one or more Microsoft graphics cards, from Ontario, .
California, to Seattle, Washington.

All in violation of Title 18, United States Code, Section 1341.

And the complainant states that this Complaint is based on the following
information:
I, MICHAEL SPIESS, being first duly sworn on oath, depose and say:
_ Affiant’s Background

1. Iam a Special Agent with the United States Secret Service (“USSS”), and
have been since September 22, 2002. I am currently assigned to the Seattle Field Office.
I am a graduate of the Federal Law Enforcement Training Center located in Glynco,
Georgia, and the USSS Special Agent Training Program located in Beltsville, Maryland.
Before becoming a Special Agent, I was employed with the USSS as a Uniformed
Officer in Washington, D.C. Before that, I served as a United States Immigration
Inspector in Toronto, Canada. I have a Bachelor of Arts Degree from Daemen College in
Amherst, New York. In the course of my official duties as a Special Agent, I have
investigated a broad range of financial crimes, including credit card fraud, bank fraud,
access device fraud, embezzlement, corporate theft of monies, money laundering, and
counterfeit currency and securities. As a result, I have experience with various methods
and practices used by criminals to commit fraud.

2. For purposes of conducting this investigation and drafting this affidavit, I
have spoken to other agents, law enforcement officials and witnesses. The statements

contained in this affidavit are based on my personal knowledge, and on information that
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has been provided to me directly or indirectly by other investigating agents, and on my
experience and training. I also have reviewed files and reports provided by other law
enforcement agencies and public databases and records. Some of the information in this
affidavit was provided to me by Internal Revenue Service Special Agent Eric Hergert.
SA Hergert is a member of the investigative team, and is extremely familiar with
electronic evidence, cybercrime, and technologies related to computers and the Internet.
SA Hergert also has specialized training in cryptocurrencies, with a focus on Bitcoin and
Ethereum. This has included training into how publically viewable “blockchains” record

cryptocurrency transactions, how to trace funds through these transactions, attribution

|| techniques used to identify individuals responsible for conducting the transactions, and

methods used by individuals to obfuscate the source of, or their control of,
cryptocurrencies. SA Hergert has used these techniques in prior and ongoing
investigations. Additionally, SA Hergert has conducted cryptocurrency training for
others, both internal to the IRS, as well as for external third parties.

3. This affidavit does not detail each and every fact and circumstance that I or
others have learned during the course of this investigation. Rather, this affidavit serves
solely to establish that there is probable cause to believe that VOLODYMYR
KVASHUK committed the crime of Mail Fraud in violation of Title 18, United States
Code, Section 1341.

Summary

4. VOLODYMYR KVASHUK is a Ukranian citizen who has been living in
the United States since 2015. The investigation has shown that KVASHUK devised and
executed a scheme to defraud Microsoft Corporation (“Microsoft”). KVASHUK worked
for Microsoft and was assigned to test the company’s online retail sales platform. In that
role, KVASHUK was supposed to make simulated purchases of Microsoft products from
the company’s online store. The testing system was designed to ensure that no physical
products would be shipped. KVASHUK, however, used test accounts to purchase

massive amounts of “currency stored value,” or “CSV,” such as digital gift cards. The
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testing program was not supposed to involve purchases of CSV, and no mechanisms were
in place to prevent the delivery of valuable CSV to the tester. The investigation has
shown that KVASHUK, in his role as a tester, purchased millions of dollars of CSV,
which he then resold on the Internet. KVASHUK used the proceeds of the fraud to
purchase, among other things, a $160,000 Tesla car and a $1.6 million home in Renton.

The Investigation

5. As part of this investigation, I have obtained records from numerous
sources, met with counsel for Microsoft, and interviewed Microsoft employees who
investigated the CSV theft.

Microsoft’s Program To Test Online Retail Sales
6. Microsoft has given me a copy of VOLODYMYR KVASHUK’s resume,

which shows that he is a Seattle-based software engineer. According to information
provided by Microsoft, KVASHUK was an employee of a Microsoft vendor. As part of
his employment with the vendor, KVASHUK worked on matters for Microsoft from
August 26, 2016, until October 1, 2017. During that time, KVASHUK worked out of
Microsoft’s office and had access to the company’s computer network. On December 1,
2017, Microsoft hired KVASHUK as a full-time employee with an annual salary of
approximately $116,000. KVASHUK worked for Microsoft until June 22, 2018.

7. Microsoft sells various products to the general public over the Internet via
its online store. To make purchases from the Microsoft store, a customer must establish a
Microsoft store account that is linked to an email address and to one or more payment
devices (such as a credit card). As both an employee of an outside vendor, and as a
Microsoft employee, KVASHUK was a member of Microsoft’s Universal Store Team
(“UST”), which supports the company’s online retail platform by (among other things)
managing a program that tests the online sales system.

8. The testing program involves creating test Microsoft store accounts that are
linked to test email accounts created specifically for the purpose of the testing program.

A tester creates a test email account by using a naming convention for the account: the
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name begins with “mstest,” followed by an underscore and the user name of the tester.
The tester then requests that the UST team “whitelist” the account, meaning that
purchases made from the account will automatically bypass Microsoft’s security and risk
protocols, which monitor online purchases in order to detect possible fraud. The test
accounts are linked to artificial payment devices (“Test in Production” or “TIP” cards) —
in. effect, phony credit cards — that allow the tester to simulate a purchase without
generating an actual charge: Once the whitelisted account is created, the tester uses that
account to attempt to make online product purchases from Microsoft, just as an ordinary
consumer would. Although each test account was created for a particular tester, the login
and password information for the test accounts was stored in an electronic document that
was accessible to multiple testers. Microsoft investigators told me that, in practice,
testers sometimes used test accounts set up for other testers.

9. According to Microsoft, the testing program was designed to test the
company’s online sales of physical goods only. When a tester used a whitelisted account
to purchase physical goods, the system ensured that no goods were actually delivered.

10. According to Microsoft, the testing program was not designed for simulated
purchases of electronic currency stored value (“CSV”), such as digital gift cards. Testers
were not authorized to use test accounts to make test purchases of CSV. Because
Microsoft did not expect testers to purchase CSV, the system had no safeguards to
prevent the delivery of actual, usable CSV to a tester who made a purchase from a
whitelisted account. Accordingly, if a tester did purchase CSV, the system would
generate a valid and usable product “key” that could be “redeemed,” meaning that the
value of the digital currency would be added to an electronic “wallet” linked to a
customer account. Once redeemed, the CSV could be used to buy both physical and
digital products from the Microsoft store.

The Theft Of $10 Million In Microsoft’s Digital Currency
11. According to information provided by Microsoft, in February of 2018,

Microsoft’s UST Fraud Investigation Strike Team (“FIST”) noticed a suspicious increase
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in the use of CSV to buy subscriptions to Microsoft’s Xbox live gaming system from
Microsoft’s online store. FIST investigated and discovered that the suspicious CSV had
originally been purchased from Microsoft through two whitelisted test accounts
associated with the email accounts I will refer to as the “av” and “sf” accounts. The CSV
was then resold on the secondary market, at a steep discount, via at least two online
reseller websites, g2a.com and nokeys.com. Customers who purchased the CSV on the
secondary market then redeemed the CSV at Microsoft’s online store for Xbox live
subscriptions.

12. The websites g2a.com and nokeys.com are located at IP addresses
88.198.39.152 and 67.229.64.252, respectively. According to open source research, the
servers hosting these websites are located in Germany and California, respectively.

13. . The av and sf test accounts were not established by KVASHUK, but rather
by other Microsoft employees. However, the username and passwords for those and
other test accounts were stored on Microsoft’s network, giving KVASHUK and many
other Microsoft employees access to them. FIST discovered that the av and sf test
accounts were used to buy a large amount of CSV between November 2017 and March
2018. The av and sf accounts were blocked by Microsoft on or about March 15, 2018.
FIST later discovered that a third test account I will refer to as the “za” account was also
responsible for a suspicious spike in CSV purchases, conducting approximately 166
purchases of CSV between March 22 and March 23, 2018. This account was blocked on
or about March 23, 2019

14. The three suspicious test accounts were used to purchase roughly $10.1
million in CSV from Microsoft. Microsoft was able to “blacklist” roughly $1.8 million in
CSV to prevent it from being redeemed, resulting in a total loss to Microsoft of

approximately $8.3 million.

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CSV Redemptions by Acquisition Account
Account 2017 2018 Total

sf $601,261.27 =: $5,444,340.04 $6,045, 601.31

Total «$958,856.27 $7,385,730.04 $8,344,58631

15. | Microsoft interviewed the employees who created the three suspicious test

accounts and found no evidence that they were involved in the fraudulent CSV purchases.

Evidence Of Kvashuk’s Involvement In The Theft

16. A variety of evidence shows that KVASHUK was involved in the CSV
theft from Microsoft.

Kvashuk’s Use Of His Own Test Account For Theft

17. As an initial matter, KVASHUK has admitted to Microsoft investigators
that he used the Microsoft store test account that he created — linked to

mstest_v-vokvas@outlook.com (the “vokvas” test account”) — to make unauthorized

purchases. Microsoft records show that the vokvas test account made purchases
(typically of CSV) on April 28, July 10, September 29, October 4, October 7, October 11,
and October 22 of 2017. The amount of CSV obtained through the vokvas account
totaled approximately $12,304.99, of which approximately $4,464.99 was redeemed. !

18. On October 7, 2017, the vokvas test account was used to purchase an
electronic “token” for a subscription to Microsoft Office for $164.99. That token was

redeemed by a Microsoft store account linked to the email address admin@searchdom. io.

Microsoft records show that the name on the Microsoft online store account for

' Approximately $100 of the redeemed CSV appears to have been in Canadian currency. It was not possible to
determine from the records available how much of the $12,3043.99 in CSV obtained through the vokvas account

was in a foreign currency.
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“searchdom” is “Volo kvashuk,” and the address is an apartment complex, 5035 15"

Avenue, Unit 101, in Seattle (the “15" Avenue” apartment). A copy of KVASHUK’s

resume (provided by Microsoft) lists him as the co-founder and Chief Technology Officer

of “SearchDom.” Washington Secretary of State records list KVASHUK as a “governor”
for Searchdom, Inc. Also listed as a “governor” in Secretary of State records is “L.W.”
Additionally, L.W. is the registrant contact for the domain name searchdom.io.
According to records obtained from Namecheap, the domain name was registered in
January 21, 2017.

19. | According to Microsoft records, KVASHUK’s vokvas test account was
used to purchase approximately $10,164.99 in CSV in October 2017.

20. On October 22 and 24, 2017, approximately $2,500 in CSV obtained by the

vokvas test account was redeemed to Microsoft store accounts linked to the email

addresses pikimajado@tinoza.org (the “pikimajado” account) and xidijenizo@axsup.net
(the “xidijenizo” account). Subscriber information has not been obtained for these email
addresses. Based on open source research, it appears these email addresses may be
associated with temporary email services. These services often do not log subscriber
information, and only keep the email account active for a few minutes.

21. On October 22 and 24, 2017, the redeemed funds in the pikimajado and
xidijenizo accounts were used to order three GeForce GTX 1070 video or “graphics”
cards with a total cost of approximately $2,024.58 from Microsoft’s online store.”
Microsoft’s records show that the name and address associated with the Microsoft online
store accounts linked to the pikimajado and xidijenizo email accounts is “Grigor shikor”
at the same 15'" Avenue apartment complex that KVASHUK lived at, but at Unit 309
(instead of KVASHUK’s unit, 101). Microsoft provided the FedEx tracking numbers for

the shipment of these cards. By entering the tracking numbers into FedEx’s website, I

? Microsoft records show attempts to access the vokvas test account from IP addresses located in Russia and Japan
on October 22,2017. These may have been attempts by KVASHUK to disguise his IP address, although that has
not been confirmed.
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was able to determine that the video cards were shipped from Ontario, California to

Seattle, Washington on or about October 22"! and 24" of 2017. Additionally, FedEx’s
website indicated that at least one of the video cards was delivered to the recipient —
address.

22, From my training and experience, I know that FedEx is a “private or
commercial interstate carrier” as that term is used in Title 18, United States Code,
Section 1341.

23. Public records searches did not identify anyone by the name of “Grigor
Shikor” in Washington. However, a Grigoriy Kvashuk was identified as living in
Oregon. As part of my investigation, investigators obtained phone records for 951-397-
8122, which is listed as KVASHUK’s phone on his resume. The subscriber name on that
account is “Grigory Kvashuk.” Additionally, the Washington Department of Licensing
lists KVASHUK and Grigoriy K vashuk as registered owners of a Honda Insight.

24. According to Microsoft records, approximately $600 of the CSV purchased
by the vokvas account was redeemed to a Microsoft store account linked to the email

address safirion@outlook.com (the “safirion” account). The registered name associated

with the safirion@outlook.com email account is “volo kv”. The current address is on 7"

Avenue in Seattle, and the former address was KVASHUK’s apartment at the 15%

Avenue complex. .

25. Microsoft investigators interviewed KVASHUK on May 10 and May 18 of
2018. Although no law enforcement officer was at those interviews, I have listened to
recordings of the interviews. The interviews were not completely recorded because of a
technical problem, but I have also read summaries of the interviews and spoken with
Microsoft investigator Andy Cookson, who was present at both interviews.

26. The interviewers asked KVASHUK about the purchases made with the
vokvas test account. KVASHUK admitted that he had created the vokvas account. He
also admitted to making some unauthorized purchases from the account. KVASHUK

suggested that there was a lack of guidance from his superiors about what could and
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could not be purchased via a test account, and claimed to have only been told that test -
accounts should not be used to purchase subscriptions.? KVASHUK claimed that he
believed it was permissible to use test accounts to buy CSV because it was not “real”
money.

27. KVASHUK admitted to Microsoft investigators that he used his test
account to purchase CSV. He admitted that the “safirion” account was his personal
account, and that he used stolen CSV to buy movies from the Microsoft store.
KVASHUK admitted that he had tried to buy a video card, but claimed that it had never
arrived.

28. The investigators asked KVASHUK about the video cards purchased (using
CSV obtained by the vokvas test account) in the name of “Grigor Shikor” at Unit 309 of
the 15" Avenue complex. KVASHUK denied purchasing those cards. When asked if he
knew “Grigor Shikor,” KVASHUK initially said, “it’s complicated,” but then denied
knowing him.* KVASHUK admitted that he lived at the 15" Avenue complex, but
denied receiving the cards.

29. With respect to the Office subscription purchased by the searchdom
account (using a token obtained by the vokvas test account), KVASHUK said that he and
another person were business partners in SearchDom. KVASHUK said that he did not
remember this event and suggested that he might have made a mistake.

30. According to Microsoft records, prior to November 22, 2017, all of the
CSV acquired through the vokvas account was redeemed to Microsoft online store

accounts associated with the email addresses admin@searchdom.io,

xidijenizo@axsup.net, or pikimajado@tinzoa.org.

31. According to records obtained from Google, on November 22, 2017, at
approximately 12:17 PM, KVASHUK conducted an internet search for “cash in xbox

> Microsoft investigators have stated that the testers may not have been specifically told that purchasing CSV was
prohibited, as the possibility that testers would purchase CSV was simply not contemplated.
* This part of the interview was not recorded.
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gift.” Then KVASHUK immediately visited the website, gameflip.com. Gameflip.com
advertises that it allows users to list Xbox Live gift cards for sale on its site. After a gift
card is purchased by a customer, Gameflip.com deposits the proceeds into the seller’s
“gameflip wallet.” The seller can then withdraw the proceeds “any time into your
PayPal, bank account, or Bitcoin.”

32. Subsequently, on November 22, 2017, at approximately 7:48 PM, $50
Canadian of CSV acquired through the vokvas account was redeemed to an unknown
individual’s Microsoft store account associated with the email address

sunmoon94@hotmail.ca. Over the next few days, approximately 12 more redemptions of

CSV acquired by the vokvas account (totaling approximately $1,150 ($50 of which was
Canadian)) were made to Microsoft store accounts associated with email addresses with
no known connection to KVASHUK. Based on this information, it appears he began
selling the CSV through third party websites on or about November 22, 2017.

_ Evidence Linking KVASHUK to CSV Thefts Through Other Test Accounts.

33. The vast majority of the $10 million in stolen CSV was obtained through
the av, sf, and za test accounts. As noted, although these accounts were created by other
testers, KVASHUK would have had access to the login information necessary to access
these accounts. Furthermore, Microsoft investigators stated that — by using test accounts
set up for other testers, rather than this own test account - KVASHUK made it more
difficult for Microsoft to identify him as a suspect in the thefts.” Based on information
provided by Microsoft, it appears that these accounts were used to make unauthorized
CSV purchases from approximately November 26, 2017, through March 23, 2018.° As

best as can be determined from the available information, it appears that CSV was resold

> As previously noted, Microsoft investigators also told me that the test accounts were sometimes shared among
testers who were using the accounts for legitimate testing.
° KVASHUK was not employed at Microsoft for the early part of this time period, but could have used any Internet-
enabled device to access and log into the test accounts.
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(most likely at a steep discount) through online resellers to customers who used the CSV
to make purchases from Microsoft’s online store.

34. Although KVASHUK admitted to only making very limited purchases of .
CSV from his test account, the investigation has shown probable cause to believe that
KVASHUK used the av, sf, and za accounts to make unauthorized CSV purchases.
Some of the evidence comes in the form of Internet Protocol (“IP”) address data. An IP
address is a numerical label assigned to each device that is connected to a computer
network that accesses the Internet. In general, Microsoft’s online sales platform records
the IP addresses used to access the company’s website. However, because the test
accounts bypassed several safeguards, IP addresses were only captured on approximately
489 of 1,554 transactions. .

35. Microsoft records show that between December 29, 2017, and March 23,
2018, at least $2.4 million of CSV was purchased using the av, sf, and za accounts in
over 400 transactions from devices using at least 34 different IP addresses beginning with
173.244.44, including IP addresses 173.244.44.19 (February 2018 and March 2018),
173.244.44.37 (December 2017 and March 2018), 173.244.44.58 (February 2018 and
March 2018), and 173.244.44.89 (January 2018, February 2018, and March 2018).
Microsoft investigators initially told me that they believed that the IP addresses beginning
in 173 were publicly-available IP address (such as one might find at a coffee shop with
WiFi) because other Microsoft employees had logged in via these addresses. As set forth
below, however, the investigation suggests that “173” IP addresses are not publicly
available.

36. The investigation has shown that KVASHUK used a 173.244.44.* IP
address to access a Microsoft store account linked to his personal email address,
kvashuk. volodymyr@gmail.com (the “kvashuk” account)’ at least nine times between

December 2 and December 19 of 2017, including IP addresses 173.244.44.19,

7 The kvashuk.volodymyr@gmail.com account is listed as KVASHUK’s personal account on his resume.
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173.244.44.37, and 173.244.44.58. He also logged into his Coinbase cryptocurrency
account using IP address 173.244.44.89 on December 2, 2017. However, no incidents
have been identified where KVASHUK used a 173.244.44.* IP address and a test account
used the same IP address on the same day to purchase CSV.

37. Records obtained through the course of the investigation indicate that IP
addresses 173.244.44.19, 173.244.44.37, 173.244.44.58, and 173.244.44.89 are assigned
to the company London Trust Media, Inc. This company operates a virtual private
network® (VPN) service that specializes in anonymity online under the name Private

Internet Access through the website www.privateinternetacess.com. The use of a VPN

can effectively conceal the true IP addresses that somebody is using to connect to the
Internet. While I am continuing to investigate the 173.244.44.* IP addresses, I believe
that all of the 173.244.44.* IP addresses associated to this investigation are controlled by
London Trust Media, Inc. Microsoft records show that Microsoft employees other than
KVASHUK have logged in via the 173.244.44.* IP addresses. Based on my training and
experience, and on information from other investigators, this does not suggest that the IP
addresses are publicly available, but rather that other Microsoft employees have also used
the London Trust VPN service. .

38. — Internet activity associated with the kvashuk. volodymyr@gmail.com
account obtained from Google via a search warrant shows that KVASHUK conducted
searches for terms related to, or visited websites for, Private Internet Access (or “PIA”) at
least once on November 27, 2017, and at least six times on December 17, 2017. The
internet searches include the terms “pia hide tor traffic,” “pia,” “pia port forwarding,” and

“pia virus.” Google records show he visited a Private Internet Access helpdesk article

* A virtual private network (VPN) is programming that creates a safe and encrypted connection over a less secure
network, such as the public internet. A VPN works by using the shared public infrastructure while maintaining
privacy through security procedures and tunneling protocols. In effect, the protocols, by encrypting data at the
sending end and decrypting it at the receiving end, send the data through a "tunnel" that cannot be "entered" by data
that is not properly encrypted. Often times, a VPN will also provide a proxy server service. With this service, a
user’s true IP address is masked when accessing resources on the internet, such as websites. The internet resource

would only be able to see the IP address of the proxy server.
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shortly after conducting these searches titled “Can I use TOR? with the Private Internet
Access service.” These searches suggest that, during the same time that the fraud scheme
was ramping up, KVASHUK was researching ways to conceal his identity on the
Internet. . .

39. According to records obtained from Microsoft, the first date a 173.244.44.*
IP address was used to obtain CSV as part of this scheme was on December 29, 2017,
when a CSV “purchase” was made through the av account. IP addresses in the
173.244.44.* range were used several times to obtain CSV through the av, sf, and za
accounts through March 23, 2018.

40. Based on my training and experience, and on information from other
investigators, KVASHUK may have believed that by using a VPN service specializing in
online anonymity to commit the fraud, he could disguise his involvement in the crimes.
Specifically, according to the Private Internet Access website, their VPN service provides
“IP Cloaking” by masking a user’s IP address with one of their anonymous IP addresses.
Based on KVASHUK’s experience as a software developer, and his experience working
with Microsoft on their online store, I believe he would know that the Microsoft online
store records the IP address of the users conducting transactions, and that a VPN service
would mask his true IP address, thereby disguising his involvement.

41. Another IP address, 4.35.246.19, was also used to access the av and sf test
accounts at least 24 times for purchases of over $131,000 in CSV in connection with the
fraud. The IP address was also used to access three Microsoft store accounts linked to
KVASHUK. It was used at least 54 times between October 24, 2017 and November 24,

2017 to access the pikimajdo and xidijenizo accounts!° (the accounts used to order the

| ° In this context, TOR appears to be an acronym for “The Onion Router.” TOR is an open-source software program

that allows users to disguise their IP address through encryption and by bouncing their internet traffic through
multiple other computers on the internet while operating compatible software.

'° Federal Express tracking logs show a login to the company’s tracking system in connection with an order placed
from the pikimajado email account. The login appears to be from Chesterbrook, PA. Although my investigation is
continuing, this login may have been done via a VPN, which allows the user to give the appearance of a login from a

different location than where the user is actually at.
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graphics cards delivered to “Grigory Shikor” at KVASHUK’s apartment complex) and
used at least 21 times on November 24, 2017 to access the vokvas test account (the test
account created by KVASHUK). This IP address is registered to Level 3
Communications. By the time this IP address was provided to investigators, subscriber
records for the dates and times in question were outside of Level 3 Communications’
retention period.

42. A third IP address, 50.243.108.211, was used five times on December 12,
2017, to purchase approximately $39,500 of CSV using the sf test account. It was also
used to access the vokvas account on June 5, 2017 and October 22, 2017, and the
xidijenizo account on October 22, 2017. The same IP address had also been used on
February 20, 2017 by KVASHUK when opening an account with the cryptocurrency
exchange Coinbase. As discussed below, KVASHUK deposited at least some of the
proceeds of the fraud into this Coinbase account. Level 3 Communications also provides
end user service for this IP address. By the time this IP address was provided to
investigators, subscriber records for the dates and times in question were outside of Level
3 Communications’ retention period.

43. The fact that all of the above IP addresses are linked to both KVASHUK
and the test accounts used to commit the fraud strongly suggests KVASHUK’s
involvement in the crime.

44. KVASHUK is also linked to the av and sf accounts through a technology
known as “Fuzzy Device” identification. When a person uses a particular device to
access Microsoft’s online store, that device leaves a digital trail known as a “Fuzzy
Device” identifier.’ According to Microsoft, although it is theoretically possible for two
devices to have the same Fuzzy Device ID, it is very unlikely. As a result, if multiple
logins are made from the same Fuzzy Device ID, there is a strong inference that the same
device (a particular computer, cell phone, etc.) was used to make all of those logins.

45. Between October 22, 2017, and November 26, 2017, Microsoft’s records

show the same Fuzzy Device ID for logins to accounts known or believed to be
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associated with KVASHUK (the vokvas, xidijenizo, and pikimajado accounts) as well as
at least some logins to the accounts by which most of the CSV was stolen (av and sf).
Similarly, Microsoft records show that the user who logged into all of those accounts
was, on at least some occasions, running the same version of the Linux operating system
and the same outdated version of the Mozilla Firefox browser — further evidence that a
single device logged into all of those accounts.

46. The fuzzy device ID bb92c484-876b-4d87-adca-943b90a2d98e (the “98e”
ID) was the only fuzzy device ID used to make purchases on the Microsoft online store
by the accounts associated with the email addresses pikimajado@tinzoa.org and
xidijenizo@axsup.net. The 98e ID was also used to make purchases on the Microsoft
online store by the vokvas, av, and swfe2eauto accounts. According to Microsoft, no
other Microsoft store accounts were associated with the 98e ID.

47. Based on my training and experience, and on information from other
investigators, I know that the term “Device ID” is a generic industry term for an identifier
for an electronic device. Some devices have a unique identifier specifically labeled as a
“Device ID” by a hardware manufacturer. When one hardware manufacturer, website,
government agency, or any other company refers to the identification of, collection of, or
use of a “Device ID,” they are generally talking about a different identifier or mechanism
for generating a Device ID that is unique to that manufacturer or other entity. Device IDs
are generally used to identify multiple transactions conducted by the same device.

48. I also know that Device IDs are often created by collecting a very large
collection of not-so-unique browser and system components that a web-browser allows a
website to view/collect, such as operating system, web-browser, screen resolution, and
many other settings. If any of the settings used to calculate the Device ID change, the
Device ID will change. An individual with knowledge of Device IDs could disguise the
fact that they are conducting multiple transactions from the same device by changing

some of these settings. Additionally, Device IDs would change if the individual used

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more than one device, or used virtual machines!! to simulate the use of more than one
device.

49. In total, Microsoft captured Fuzzy Device ID information on
approximately 223 of the 1,554 purchases of CSV using the av, sf, and za accounts. !
Over the course of the scheme, a total of 14 different Fuzzy Device IDs were captured on
these 223 transactions. Most of the Fuzzy Device IDs were only used to purchase the
CSV for one day. This could be indicative of using multiple devices, or the use of virtual
machines. The first Fuzzy Device ID listed on the chart below — the 98e address — was
used to access the vokvas, xidijenizo, and pikimajado accounts between October 22 and

24, 2017, and was also used to access the av and sf test accounts to make CSV purchases

| on November 26, 2017. This strongly suggests that the same device was used to access

both accounts known to be linked to KVASHUK as well as the test accounts used to

commit the fraud.

Device ID Identified Date Range

Purchase

Transactions

58b04a06-d52c-481b-9050- 20 ~~ 12/2/2017 —
34d1f5c64aab 12/13/2017

"' A virtual machine is simulated computer that runs its own operating system that runs like an application on

ranother computer. The end user has a similar experience on a virtual machine as they would have if the operating

system were installed on its own device. Several virtual machines can be installed on a single computer, and can be
created in a short period of time. The use of a virtual machine could conceal the Device ID of the underlying
device.
"? Fuzzy Device ID information was only captured for transactions conducted through the av and sf accounts.
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£4495b0d7453 .

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84925e6b-035f-4138-9b41- . , 12/ 17/2017
b2dbbb13efce

21035123-ccef-474f-ade4. 79 12/22/2017
$£d96984975d 1/4/2018

0424b94c-9e86-4abd-a9f4- 2 1/20/2018
bfce921962al

Internet activity associated with the kvashuk. volodymyr@gmail.com account obtained
from Google via a search warrant shows that KVASHUK searched for terms related to,
or visited websites for or related to, “VM” or “virtualbox” (a virtual machine software) at

least twenty times between November 7, 2017, and November 25, 2017.

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Evidence of Unexplained Wealth .

50. Financial records show that KVASHUK had a large amount of unexplained
income during the period.of the CSV thefts. According to his tax returns for 2016 and
2017, KVASHUK only had total income of $35,260 and $114,103, respectively.
According to Microsoft, for the portion of time KVASHUK was a direct employee
(December 2017 to June 2018), his annual salary was $116,000.

51. Investigators have reviewed records for a checking account that
KVASHUK had at Wells Fargo bank, ending in -5789. The earliest daily balance shown
on the records was $429.56 on July 29, 2016. The balance on the account remained
under $20,000 until late November of 2017, when large amounts of money from a
cryptocurrency account in KVASHUK’s name at Coinbase.com, began to flow into the -
5789 account. On November 30, 2017, over $14,000 was transferred to the -5789
account from Coinbase.com.!? On December 11, 2017, over $6,600 was transferred from
Coinbase.com to the -5789 account. On December 21, 2017, there was a transfer of over
$29,000 from Coinbase.com to the -5789 account.

52. The suspicious transfers escalated dramatically in early 2018. For example,
on January 30", February 2", and February 6" of 2018, there were transfers from
Coinbase of over $98,000, $177,000 and $134,000, respectively. Ona single day —
March 2, 2018 — over $500,000 was transferred from Coinbase to the -5789 account.
Over $1.4 million was transferred in total in March 2018, followed by over $935,000 in
April.

53. All told, over $2.8 million was transferred from Coinbase to the -5789
account between November 2017 and May 2018. The approximate timeframe of the vast
majority of the fraud was November 2017 through March 2018. Given these timeframes,
and based on my training and experience, it appears that KVASHUK had converted the

13 Of the $14,876.98 transferred, $5,024.01 was proceeds from the sale of Ethereum cryptocurrency. This

cryptocurrency had been obtained in June 2017, and is not believed to be proceeds from the wire fraud scheme.
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proceeds of the fraud into cryptocurrency (or received the proceeds as cryptocurrency),
and then gradually converted the cryptocurrency in fiat currency and transferred the
proceeds to his Wells Fargo account.

54. | Furthermore, in order to determine the source of the cryptocurrency
“bitcoin” in the Coinbase account, SA Hergert has examined the bitcoin blockchain, a
public ledger of bitcoin transactions. SA Hergert determined that the vast majority of the
bitcoin deposited into the Coinbase account originated from chipmixer.com.
Chipmixer.com is a bitcoin “mixing” service which appears to be located in Germany. A
bitcoin mixing service mixes potentially identifiable bitcoin with others, with the intent to
obscure and conceal the original source of the bitcoin. Based on SA Hergert’s training
and experience, the use of chipmixer.com is further evidence of an attempt to conceal
proceeds of the fraud.

55. In addition to the bitcoin sourced from chipmixer.com, SA Hergert was .
able to trace a deposit of 1.5 bitcoin into KVASHUK’s Coinbase account on November
29, 2017 from Paxful.com. Paxful.com is a peer-to-peer cryptocurrency trading site.
This site allows users to purchase bitcoin with gift cards, including Xbox gift cards.
Internet activity associated with the kvashuk. volodymyr@gmail.com account obtained
from Google via a search warrant showed KVASHUK searched for terms related to, or
visited websites for or related to, paxful.com at least three times between November 24,
2017 and November 27, 2017. This is further evidence of KVASHUK researching
matters relevant to the fraud at the approximate time that the fraud scheme ramped up
dramatically. .

56. As part of the investigation, SA Hergert analyzed the value of bitcoin (in
United States dollars) deposited into KVASHUK’s Coinbase account and compared it to
the purchases and redemptions of CSV.'* SA Hergert was able to determine that, while
significantly lower, the value of the bitcoin deposits to KVASHUK’s Coinbase account

'* This analysis does not take into account the value of any CSV that was blacklisted by Microsoft.
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generally correlated with the value of the purchased and redeemed CSV. The reasons for
the lower value could include KVASHUK selling the CSV at a discount, bitcoin’s
general decline in value during early 2018, or that not all of the proceeds from this

scheme have been identified.

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57. KVASHUK has used his unexplained wealth to make significant
purchases. In March of 2018, KVASHUK paid roughly $162,000 for a Tesla vehicle.
According to title company records, in June of 2018, KVASHUK bought a lakeside home
in Renton for roughly $1.675 million.

58. KVASHUK told Microsoft investigator Andrew Cookson, in an interview
on May 16, 2018, that he had rented a new place since the last time they spoke. In truth,
records obtained during that investigation show that he had accepted a purchase
agreement for the Renton home as of approximately April 1, 2018, and a rental
agreement to occupy the property prior to closing dated April 19, 2018. Email messages
from Amazon.com to KVASHUK show purchases of items to be delivered to him at the
Renton home as early as April 24, 2018.

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False Tax Returns

59. On or about February 24, 2018, KVASHUK electronically filed a 2017
Form 1040, U.S. Individual Income Tax Return, with the IRS. The tax return appears to
have been self-prepared by KVASHUK using the website 1040.com. The tax return
reported income of $109,440 from wages, and net gains of $4,663 from the sale of
various cryptocurrencies, including bitcoin, for total reported income of $114,103.
Deposits into KVASHUK’s Wells Fargo bank account *5789 in 2017 totaled
$139,680.76.

60. On or about February 21, 2019, a 2018 Form 1040, U.S. Individual Income
Tax Return, was filed electronically for KVASHUK by Tax Rite, Inc. The tax return was
prepared by a paid return preparer. The tax return reported income of $76,927 from
wages, $9,968 from dividends, and a loss of $71,745 (limited to a deductible loss of
$3,000) from the sale of investments and cryptocurrency, including bitcoin, for total
reported income of $83,895. Deposits into KVASHUK’s Wells Fargo bank account
*5789 in 2018 totaled $2,925,374.48.

61. | As shown above, KVASHUK, through his scheme to defraud Microsoft,
acquired CSV totaling approximately $971,161.26 in 2017 and $7,385,730.04 in 2018 at
no cost to himself. These amounts are includable in his gross income, and are taxable in
the year they are received.

62. _ KVASHUK did report the income from the sales of bitcoin to Coinbase
discussed above. However, in 2017 he only reported a taxable gain (sales price less
basis) of approximately $1,547 in 2017 and a loss of approximately $69,418 in 2018.
The limited gain and the loss reported on the tax returns appear to be the result of
KVASHUK using the value of the bitcoin at the time he deposited them into his Coinbase
account as his basis. In truth, because the bitcoin were obtained as proceeds of his
scheme to defraud, and since KVASHUK did not report the income from his scheme to
defraud, his basis in the bitcoin should have been $0. If this were the case, he would

have had income from the sale of bitcoin obtained through the scheme of $47,715 in 2017
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and $2,846,041 in 2018, based on the sales proceeds reported on his respective tax
returns.

63. . On December 19, 2017, KVASHUK emailed J.P. from taxhotline.net.
Based on the context of the email, it appears to be a follow-up discussion to a prior phone
call. In the message, KVASHUK indicated he was receiving gifts from his father in the
form of bitcoin and questioned how to show on a tax return that the funds were a gift so
he wouldn’t “have any troubles in the future.” He specifically noted that his father
purchased the bitcoin with cash, and therefore had no records of the purchase.

64. On February 5, 2019, KVASHUK emailed D.L., his tax return preparer,
regarding the preparation of KVASHUK’s 2018 tax return. In the email, he told D.L.
that his father sent him bitcoin, which he sold to Coinbase for cash, and references a
computer file that appears to be a report from Coinbase regarding transactions conducted
in his Coinbase account. Based on SA Hergert’s review of the tax return, the proceeds
from bitcoin sales reported on the tax return reconcile to the U.S. currency withdrawn
from Coinbase, and the cost basis claimed materially reconciles to the U.S. dollar value
recorded by Coinbase at the time the bitcoin was deposited to KVASHUK’s account.

65. As discussed above, while conducting blockchain analysis on the bitcoin
deposited into KVASHUK’s Coinbase account, SA Hergert was able to determine that
the majority of the bitcoin appeared to trace back to Paxful.com and Chipmixer.com.

66. Additionally, an email between KVASHUK and his father on May 18,
2018 includes copies of a 2018 non-immigrant visa application for KVASHUK’s father

which stated his father was a university lecturer with a monthly income of 30,000 in

Ukranian currency. Based on the exchange rate on that day, this would be approximately

$1,156 per month.
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67. Based on the above facts, I respectfully submit that there is probable cause
to believe that VOLODYMYR KVASHUK committed the crime charged in Count 1,
above.
MICHAEL SPIESS, Complainant

Special Agent
United States Secret Service

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant
committed the offense set forth in the Complaint.

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Dated this__\~ day of July, 2019.

tab L. MC ME

PAULA L. MCCANDLIS
United States Magistrate Judge

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

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